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              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                 Case Nos.: 3:14cr59/RV/EMT
                                                              3:17cv855/RV/EMT
JOHN DAVID CASTLEBERRY
__________________________________/

                                     ORDER

      This cause comes on for consideration upon the Magistrate Judge’s Report

and Recommendation dated November 18, 2020 (ECF No. 560). The parties have

been furnished a copy of the Report and Recommendation and have been afforded

an opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined that

the Report and Recommendation should be adopted.

      Accordingly, it is now ORDERED as follows:

      1.    The Magistrate Judge’s Report and Recommendation is adopted and

incorporated by reference in this Order.

      2.    The Amended Motion to Vacate, Set Aside, or Correct Sentence (ECF

Doc. 545) is DENIED.
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       3.     A certificate of appealability is DENIED.

       DONE AND ORDERED this 28th day of December, 2020.




                                              /s/ Roger Vinson
                                              ROGER VINSON
                                              Senior United States District Judge




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